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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 SIMON AND SIMON, PC, et al.,
                                                    20-cv-03754-VC
                Plaintiff,

         v.                                         JUDGMENT

 ALIGN TECHNOLOGY, INC.,
                Defendant.



       The Court, having granted summary judgment to the defendant, now enters judgment in
favor of the defendant and against the plaintiffs. See Dkt. No. 432. The Clerk of Court is directed
to close the case.
       IT IS SO ORDERED.

Dated: March 22, 2024

                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
